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 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   GOLDEN EYE MEDIA, USA, INC.,                        Case No.: 18cv2109-BEN-LL
12                                      Plaintiff,
                                                         ORDER GRANTING JOINT
13   v.                                                  MOTION TO AMEND
                                                         SCHEDULING ORDER
14   TROLLEY BAGS UK LTD; and
                                                         REGULATING DISCOVERY AND
     BERGHOFF INTERNATIONAL, INC.,
15                                                       OTHER PRE-TRIAL
                                     Defendants          PROCEEDINGS
16
17   __________________________________                  [ECF No. 39]
18       AND RELATED COUNTERCLAIMS.
19
20         After considering the parties’ Joint Motion to Amend Scheduling Order Regulating
21   Discovery and Other Pre-Trial Proceedings [ECF No. 39], the Court finds good cause and
22   GRANTS the joint motion.1 Accordingly, the following dates are RESET as follows:
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24   ///
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27   1
       Because the Court is granting the parties’ request to extend the deadline to file pretrial
     motions, the Court also finds it necessary to move the subsequent deadlines, even though
28   the parties did not request their extensions.
                                                     1
                                                                                  18cv2109-BEN-LL
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 1     Event                                     Current Date          New Date
 2     Fact-Discovery Deadline                   September 19, 2019    November 22, 2019
 3     Expert Designation/Opening Expert         October 21, 2019      December 13, 2019
 4     Reports
       Supplemental Expert                       November 12, 2019     January 10, 2020
 5     Designation/Rebuttal Expert Reports
 6
       Expert Discovery Deadline                 December 20, 2019     February 21, 2020
 7
       Pretrial Motion Deadline                  January 27, 2020      March 27, 2020
 8
       Confidential Settlement Statements        April 10, 2020        May 12, 2020
 9
       Mandatory Settlement Conference           April 20, 2020        May 20, 2020 at 9:30
10                                                                     a.m.
11     FRCP 26(a)(3) Pretrial Disclosures        May 4, 2020           June 3, 2020
12     Civil LR 16.1(f)(4) Meeting               May 11, 2020          June 10, 2020
13     Civ. LR 16.1(f) Pretrial Order            May 18, 2020          June 17, 2020
       Exchange by Plaintiff
14     Proposed Final Pretrial Conference        May 26, 2020          June 25, 2020
15     Order
16     Final Pretrial Conference                 June 1, 2020          July 6, 2020
17                                                                     at 10:30 a.m.
18
19   All other requirements and guidelines remain as previously set. See ECF No. 24.
20         IT IS SO ORDERED.
21   Dated: September 6, 2019
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